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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:13-cr-00326-JCM-PAL
 4
                    Plaintiff,                          ORDER
 5
            v.
 6
     LEONARD EARL RUSSELL,
 7
                    Defendant.
 8
 9
10          Based on the Stipulation of counsel and good cause appearing,

11          IT IS THEREFORE ORDERED that the Initial Appearance currently scheduled on

12                                                                           December 14, 2020
     October 5, 2020, at the hour of 2:30 p.m., be vacated and continued to _________________  at

13   the hour of ___:___
                 3:00 pm in__.m.
                            LV Courtroom 3D
                        2
            DATED this ____ day of October, 2020.
14
15
16
                                                UNITED STATES MAGISTRATE JUDGE
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